                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

GIPSON MECHANICAL                    )
CONTRACTORS, INC.                    )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )                     Case No. 3:18-cv-00768
                                     )                     Judge Aleta A. Trauger
                                     )
U.A. LOCAL 572 OF THE UNITED         )
ASSOCIATION OF THE JOURNEYMAN        )
AND APPRENTICES OF THE PLUMBING      )
AND PIPEFITTERS INDUSTRY OF THE      )
UNITED STATES AND CANADA (AFL-CIO), )
and PLUMBERS & PIPEFITTERS LOCAL 572 )
BUILDING CORPORATION,                )
                                     )
      Defendants.                    )

                                         MEMORANDUM

       Pending before the court is a Motion to Dismiss (Docket No. 12) filed by the defendants,

U.A. Local 572 of the United Association of the Journeyman and Apprentices of the Plumbing and

Pipefitters Industry of the United States and Canada (AFL-CIO) (“U.A. Local 572”) and Plumbers

& Pipefitters Local 572 Building Corporation (“Local 572 Building Corp.”), in response to an

Amended Complaint filed by the plaintiff, Gipson Mechanical Contractors, Inc. (“Gipson”)

(Docket No. 6.) Gipson has filed a Response in opposition (Docket No. 16), and the defendants

have filed a Reply (Docket No. 17). For the reasons discussed herein, the defendants’ motion will

be granted in part and denied in part.

                                         BACKGROUND 1




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  The facts are taken from Gipson’s Amended Complaint and are viewed in the light most
favorable to the plaintiffs.
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       Gipson is a construction services corporation specializing in industrial mechanical work,

pipefitting, mechanical service, and related work. U.A. Local 572 is a labor union with its principal

place of business located at 225 Ben Allen Road, Suite 102, Nashville, TN 37207-3031. Local

572 Building Corp. is a public benefit corporation formed to acquire and maintain property for

labor organizations. Its principal place of business is also located at 225 Ben Allen Road, Suite

102, Nashville, TN 37207-3031. Local 572 Building Corp. has owned the property located at 225

Ben Allen Road for nearly forty years. Both U.A. Local 572 and Local 572 Building Corp. conduct

their business operations out of the same facilities there. U.A. Local 572 lists the property as its

asset in Form LM-2 Labor Organization Annual Reports that U.A. Local 572 files with the U.S.

Department of Labor. U.A. Local 572 has pledged the property located at 225 Ben Allen Road as

collateral for one or more loans obtained by U.A. Local 572. In 2015, U.A. Local 572 was

represented by attorney James Stranch, III, who was also Local 572 Building Corp.’s registered

agent for service of process. (Docket No. 6 at 10–11.)

       In 2008, Gipson opened a new operations branch in Nashville, TN, in order to provide

heavy industrial mechanical work on construction projects and service for existing mechanical

systems in commercial buildings and structures in the Middle Tennessee area. Gipson contacted

U.A. Local 572 to arrange for union employees to work on both its construction and commercial

services business operations. Gipson and U.A. Local 572 agreed to be bound by a previously-

negotiated agreement between U.A Local 572 and the master plumbing, heating, piping, and air

conditioning contractors of Middle Tennessee. That agreement was entitled “Working Agreement

Between Plumbers and Pipefitters U.A. Local 572 and the Master Plumbing Heating, Piping and

Air Conditioning Contractors of Nashville and Vicinity” (“2007 Master Agreement”). The parties

subsequently agreed to successor versions of the 2007 Master Agreement—the “2010 Master



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Agreement” and “2013 Master Agreement,” collectively the “Master Agreements”—that were, for

the purposes of this motion, substantially similar in terms. 2 All three agreements contained the

following Grievance Procedure:

                                      ARTICLE XII
                                 GRIEVANCE PROCEDURES

       Section 1. In recognition of the jurisdiction claims as set out in this Agreement, it
       is understood that the assignment of work, and the settlement of jurisdictional
       disputes with other Building Trade Organizations shall be adjusted in accordance
       with the procedure established by the National Joint Board for the settlement of
       jurisdictional disputes, or any successor Agency of the Building and Construction
       Trades Department.

       There shall be no stoppage of work because of jurisdictional disputes.

       Section 2. All differences as to interpretation and meaning of the Agreement
       between the parties shall be settled in accordance with the following procedures:

               (A)    The Contractor and the Union, through their authorized
                      representatives, shall attempt to settle the matter in dispute.

               (B)    In the event that the dispute is not so settled, it shall be referred to
                      the Joint Arbitration Committee consisting of three (3)
                      representatives designated by the “Historical Bargaining Group”


2
  Several documents in the record are referenced in the Amended Complaint, relied upon in the
parties’ briefs, and cited in this Memorandum. Generally speaking, if, in support of a motion under
Rule 12(b)(6) or 12(c), “matters outside the pleadings are presented to and not excluded by the
court, the motion must be treated as one for summary judgment under Rule 56.” Fed. R. Civ. P.
12(d). The obligation to treat a motion to dismiss as a summary judgment motion is typically
mandatory if matters outside the pleadings are not excluded by the court. See Max Arnold & Sons,
LLC v. W.L. Hailey & Co., Inc., 452 F.3d 494, 503 (6th Cir. 2006) (applying Rule 12(d) to a Rule
12(c) motion). However, a court may consider matters outside the pleadings without converting
the motion to a Rule 56 motion if the documents are “incorporated by reference or integral to the
claim, items subject to judicial notice, matters of public record, orders, items appearing in the
record of the case, and exhibits attached to the complaint whose authenticity is unquestioned.” 5B
Wright & Miller, Federal Practice and Procedure § 1357 (3d ed.), cited in Tellabs, Inc. v. Makor
Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). The court will therefore consider the 2013 Master
Agreement and Memorandum of Understanding, which are attached to the Complaint. (Docket
No. 6-1.) One document cited by the plaintiffs, however, does not meet these criteria: an affidavit
given by Gipson’s president, Winston Gipson, attached to Gipson’s Response. (Docket No. 16-
1.) The court will not consider the affidavit, as it is outside the parameters of what may be
considered on a motion to dismiss.
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                      and three (3) representatives designated by the “Union.” Said
                      Committee shall meet within twenty-four (24) hours following
                      receipt of a notice in writing from either of the parties hereto.

       The Joint Committee reserves the right to make the final decision in any dispute,
       and final interpretation of any of the Articles of this Agreement subject to the rules
       of Arbitration set forth herein. If said Committee is unable to reach a decision
       within three (3) days following its first meeting, said Committee shall submit the
       dispute to the Industrial Relations Council for the Plumbing and Pipe Fitting
       Industry. Pending final decision of the Industrial Relations Council, in accordance
       with its published procedures and rules, all terms and conditions for this Agreement
       shall continue in full force and effect, meanwhile, there shall be no work stoppage.
       The determination reached in this Grievance Procedure shall be final and binding
       upon all parties involved.

(Docket 6-1 at 19.)

       The Master Agreements were supplemented with a Memorandum of Understanding,

which included the following provision:

       To compete for commercial work against non-union contractors, the union
       recognizes that the contractors’ average cost per hour (including labor burden) must
       be competitive. A “Target Rate” will be established based upon the average hourly
       cost of non-union labor. The union and the contractor mutually agree to use
       increased ratios, promotional funds and any other legal means available to provide
       skilled labor at an average rate equal to the target rate when competing against non-
       union contractors for commercial work. Helpers and pre-apprentices will not be
       used when first year apprentices are available.

       As economic conditions change, the Target Rate shall be re-calculated and adjusted
       as recommended by the Work Recovery Committee. 3 The hourly rates used to
       forecast the contractor’s average labor cost per hour and the Target Rate shall be
       calculated using spreadsheets which are maintained by the Work Recovery
       Committee.

(Id. at 22.) This provision served to level the playing field for union employers. Mechanical

contractors who utilize non-union employees typically pay lower wages to their employees than



3
 The Master Agreements state that, “[i]n order to recapture work which has been lost to contractors
not signatory to this Agreement, the Local Union and the Employees hereby agree that each side
will elect four representatives to serve on the Work Recovery Committee (WRC).” (Docket No.
6-1 at 20 (emphasis added).) Given the context, the court assumes that the committee is comprised
of four union representatives and four employer representatives.
                                                 4

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contractors who utilize union employees. Thus, to allow employers who were signatories to the

Working Agreements to be able to compete with mechanical contractors who retained non-union

employees, the Working Agreements require signatory employers to deduct a specified amount

from the wages of the union employees for union-related contributions, including a Market

Recovery Fund that was maintained by U.A. Local 572. U.A. Local 572 would then issue grants

to the signatory employers in the form of a wage supplement, which would in turn allow signatory

employers to reduce the amounts of their bids for work in order to make signatory employers more

competitive with contractors who relied upon non-union labor to perform work.

       The Market Recovery Fund is mentioned only once in the Master Agreements or

Memorandum of Understanding. 4          Neither the Master Agreements nor Memorandum of

Understanding outline the process by which Market Recovery Funds are allocated or the

parameters of such allocations. The Master Agreements designated Billy Borchert as U.A. Local

572’s Business Manager. From 2009 through 2015, Borchert authorized Market Recovery Fund

grants to Gipson and other signatory employers. The process operated as follows: upon

authorization, Gipson provided an estimate of the number of man-hours needed to complete a

qualifying project. Borchert would then provide Gipson a maximum grant amount that could be

committed for the project and a corresponding amount-per-man-hour-worked that would be paid

upon submission of time sheets validating the hours worked by U.A. Local 572 members. In

reliance on those commitments, Gipson would then adjust its bid estimates by reducing labor costs.



4
  This mention comes in Article XIII of the Master Agreements: “In order to maximize the
effectiveness of the Market Recovery Fund, commercial work shall be performed with the
minimum number of journeymen required to properly complete the work; however, the percentage
of journeymen employed shall not be less than 20% of the total number of men (including all
classifications of this contract). If target funds are available to reduce more than 20% of the total
hours to a competitive rate, then a larger percentage of journeymen (up to 100%) will be utilized.”
(Docket No. 6-1 at 20.)
                                                 5

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When bids were successful, Gipson would enter contracts to perform work at the reduced labor

costs made possible by the Market Recovery Fund grants. Once work commenced, Gipson would

submit invoices to U.A. Local 572 for the number of man-hours worked on the project in a given

billing period, multiplied by the hourly rate previously authorized by U.A. Local 572. Gipson was

awarded Market Recovery Fund grants by Borchert for the following projects:

             PROJECT                                     GRANT DATE
             Nissan SR 1 Paint Facility                 January 1, 2012
             Music City Center                          January 31, 2014
             Fort Campbell Unmanned Aerial              August 26, 2014
             Vehicle – COF and TEMF
             Buildings
             Fire Station #33                           September 9, 2014
             MTSU - Student Services                    December 19, 2014
             State of Tennessee Parking                 March 20, 2015
             Garage
             HCA Capitol View                           November 20, 2015
             MTSU Steam/Condensate                      September 18, 2015
             MTSU Midgett Building                      September 18, 2015

(Id. at 8.) As work proceeded on these projects and wages were paid accordingly, Gipson

periodically submitted invoices and accompanying documentation to U.A. Local 572 for Market

Recovery Fund payments. From 2012 to 2017, U.A. Local 572 made four Market Recovery Fund

payments to Gipson, totaling approximately $250,000. During this same time period, U.A. Local

572 paid millions of dollars to other employers on grants issued months or years after the grants

issued to Gipson.

       Gipson alleges that, in addition to its failure to pay the Market Recovery Fund moneys it

owed, U.A. Local 572 consistently failed to provide appropriately skilled and competent workers.

As a result, defective mechanical work was installed by U.A. Local 572 journeymen and foremen

on Gipson jobs. Gipson was required to remove and correct the defective work at substantial costs.

Gipson incurred $133,736.25 to correct defective work on the Williamson County Performing Arts


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& Enrichment Center, and $147,817.29 to correct defective work on the Austin Peay State

University Trahern Building & Fine Arts Building. When Gipson notified U.A. Local 572 of

correction costs, U.A. Local 572 Business Manager Robbie Carroll—who succeeded Billy

Borchert—instructed Gipson to submit invoices for the costs incurred, indicating that U.A. Local

572 would reimburse Gipson for its losses. However, after receiving backup documentation and

invoicing for those charges, U.A. Local 572 refused to pay Gipson. The Master Agreements state,

in Section 4 of Article III:

        In hiring men, the Employer shall be the sole judge of the number of men required,
        and shall make the sole determination of the Employees [sic] competency for the
        work assigned. Contractors shall only employ qualified Journeymen Plumbers,
        Steamfitters, and Apprentices for Plumbing and Pipe Fitting work. Journeymen
        Plumbers and Pipe Fitters shall be qualified for employment who have had at least
        five (5) years actual practical working experience at the Plumbing and Pipe Fitting
        Trade as a Journeymen or who either:

                (A) Have successfully served an apprenticeship at the Trade under an
                    Apprenticeship Program approved by the United States Bureau of
                    Apprenticeship and Training, or State Division of Apprenticeship
                    Standards.

                (B) Have had previous employment as a Journeyman Plumber and Pipe
                    Fitter with a Contractor signatory to this Agreement, and whose services
                    have proved satisfactory.

(Id. at 6.)

        On November 1, 2017, Gipson Mechanical closed its Nashville Branch, in part due to the

failure by U.A. Local 572 to timely make Mechanical Market Recovery Fund payments. As of

that date, Gipson was owed the following Market Recovery Fund sums:



              PROJECT                                    AMOUNT
              Nissan SR 1 Paint Facility                 $6,336.00
              Music City Center                          $110,897.34




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             Fort Campbell Unmanned Aerial                $126,224.00
             Vehicle – COF and TEMF
             Buildings
             Fire Station #33                             $7,269.00
             MTSU - Student Services                      $71,200.00
             State of Tennessee Parking                   $5,980.00
             Garage
             HCA Capitol View                             $46,000.00
             MTSU Steam/Condensate                        $28,170.00
             MTSU Midgett Building                        $2,190.00


(Id. at 11.) On January 19, 2018, Gipson transmitted through counsel a demand letter to Carroll.

The letter requested the unpaid sums due from the Market Recovery Fund and Gipson’s defective

work claims. On April 10, 2018, U.A. Local 572 transmitted Market Recovery Fund payments for

six projects. No payments were transmitted for the Nissan SR 1 Paint Facility, the Music City

Center, or the Fort Campbell COF Building and TEMF Building projects. This left a total of

$243,457.34 in unpaid Market Recovery Fund sums, in addition to the $281,553.53 allegedly owed

for defective work costs.

       On July 19, 2018, Gipson filed suit against Local 572 Building Corp. in the Circuit Court

of Davidson County, Tennessee, alleging breach of contract. (Docket No. 1.) On August 16, 2018,

Local 572 Building Corp. removed the case to this court pursuant to Section 301 of the Labor

Management Relations Act (“LMRA”), 29 U.S.C. § 185(a) (2012), which provides that “[s]uits

for violation of contracts between an employer and a labor organization . . . may be brought in any

district court of the United States having jurisdiction of the parties . . . .” On September 6, 2018,

Gipson amended its Complaint, adding U.A. Local 572 as a defendant. (Docket No. 6.)

                                      LEGAL STANDARD

       In deciding a motion to dismiss for failure to state a claim under Rule 12(b)(6), the court

will “construe the complaint in the light most favorable to the plaintiff, accept its allegations as


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true, and draw all reasonable inferences in favor of the plaintiff.” Directv, Inc. v. Treesh, 487 F.3d

471, 476 (6th Cir. 2007); Inge v. Rock Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002). The Federal

Rules of Civil Procedure require only that a plaintiff provide “a short and plain statement of the

claim that will give the defendant fair notice of what the plaintiff’s claim is and the grounds upon

which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957). The court must determine only whether

“the claimant is entitled to offer evidence to support the claims,” not whether the plaintiff can

ultimately prove the facts alleged. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002) (quoting

Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).

       The complaint’s allegations, however, “must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). To establish the “facial

plausibility” required to “unlock the doors of discovery,” the plaintiff cannot rely on “legal

conclusions” or “[t]hreadbare recitals of the elements of a cause of action,” but, instead, the

plaintiff must plead “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009).

“[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.” Id. at

679; Twombly, 550 U.S. at 556. According to the Supreme Court, “plausibility” occupies that

wide space between “possibility” and “probability.” Iqbal, 556 U.S. at 678. If a reasonable court

can draw the necessary inference from the factual material stated in the complaint, the plausibility

standard has been satisfied.

                                            ANALYSIS

       The defendants move to dismiss on several grounds. First, they allege that all claims

against Local 572 Building Corp. should be dismissed because it is not a party to any contractual

agreement with Gipson and therefore cannot be liable to Gipson for a breach of contract. In



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conjunction with this argument, the defendants contend that Gipson has failed to plead sufficient

facts to establish that U.A. Local 572 and Local 572 Building Corp. are alter egos. Next, they

allege that Gipson has failed to exhaust the internal remedies set forth in the Master Agreements

via Article XII’s Grievance Procedure. Finally, they allege that, even if Gipson’s claims are not

subject to the Grievance Procedure, Gipson fails to state a claim upon which relief can be granted

with regard to the allegedly defective work performed by union employees. The court will address

each argument in turn.

       1. Are the defendants alter egos?

       Gipson has sufficiently pleaded facts showing that the defendants are alter egos of each

other. Under Tennessee law, “[a]n alter ego or agency relationship is typified by the parent

corporation’s control of the subsidiary corporation’s internal affairs or daily operations.” Wells ex

rel. Baker v. State, 435 S.W.3d 734, 756 (Tenn. Ct. App. 2013). Factors to be considered in

determining whether an alter ego relationship exists include:

       (1) whether there was a failure to collect paid in capital; (2) whether the corporation
       was grossly undercapitalized; (3) the nonissuance of stock certificates; (4) the sole
       ownership of stock by one individual; (5) the use of the same office or business
       location; (6) the employment of the same employees or attorneys; (7) the use of the
       corporation as an instrumentality or business conduit for an individual or another
       corporation; (8) the diversion of corporate assets by or to a stockholder or other
       entity to the detriment of creditors, or the manipulation of assets and liabilities in
       another; (9) the use of the corporation as a subterfuge in illegal transactions; (10)
       the formation and use of the corporation to transfer to it the existing liability of
       another person or entity; and (11) the failure to maintain arms length relationships
       among related entities.

F&M Mktg. Servs., Inc. v. Christenberry Trucking & Farm, Inc., 523 S.W.3d 663, 667 (Tenn. Ct.

App. 2017), appeal denied (May 18, 2017). “Generally, no one factor is conclusive in determining

whether to pierce the corporate veil; rather, courts will rely upon a combination of factors in

deciding the issue.” Id. “The existence of an alter-ego relationship is a question of fact.” Wells,



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435 S.W.3d at 756 (citing Bracken v. Earl, 40 S.W.3d 499, 502 (Tenn. Ct. App. 2000)); see also

Dog House Invs., LLC v. Teal Properties, Inc., 448 S.W.3d 905, 918 (Tenn. Ct. App. 2014) (“[T]he

question of whether [a] corporate entity is ‘a mere instrumentality of an individual or parent

corporation’ is a question of fact for the finder of fact.”).

        Gipson alleges that several of the factors listed above are present in the relationship

between the defendants. The defendants share the same address and use the same physical space

at 225 Ben Allen Road. U.A. Local 572 has listed that property, owned by Local 572 Building

Corp., as collateral for loans. The defendants both employed for some time during the relevant

time period the services of James Stranch, III, Esq. Gipson has pleaded facts that, if true, a

reasonable jury could find sufficient to establish that the defendants are alter egos of one another.

Claims against Local 572 Building Corp. will therefore not be dismissed at this stage.

        2. Does the Grievance Procedure govern?

        The defendants contend that Gipson’s claims against it are not properly before this court

because Gipson has not exhausted the internal remedies set forth in Article XII of the Master

Agreements. Although § 301 of the LMRA permits district courts to hear contract disputes

between a union and an employer under appropriate circumstances, § 203(d) provides that “[f]inal

adjustment by method agreed upon by the parties is declared to be the desirable method for

settlement of grievance disputes arising over the application or interpretation of an existing

collective bargaining agreement.” There is a strong federal policy in favor of the finality of

arbitration in resolving labor disputes by grievance procedures adopted by the parties. Malone v.

U.S. Postal Serv., 526 F.2d 1099, 1104 (6th Cir. 1975). However, “it is not arbitration per se that

federal policy favors, but rather final adjustment of differences by a means selected by the parties.

If the parties agree that a procedure other than arbitration shall provide a conclusive resolution of



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their differences, federal labor policy encourages that procedure no less than arbitration.” Bakers

Union Factory v. ITT Cont’l Baking Co., Inc., 749 F.2d 350, 353 (6th Cir. 1984) (quoting United

Mine Workers of Am., Dist. No. 2 v. Barnes & Tucker Co., 561 F.2d 1093, 1096 (3d Cir. 1977)).

Therefore, “if the parties provide that means other than arbitration will conclusively resolve their

differences, a determination made pursuant to that chosen procedure is no less enforceable in a

federal court than is an arbitration award.” Barnes & Tucker, 561 F.2d at 1096. On the other hand,

while courts have jurisdiction to enforce collective bargaining contracts, “where the contract

provides grievance and arbitration procedures, those procedures must first be exhausted and courts

must order resort to the private settlement mechanisms without dealing with the merits of the

dispute.” United Paperworkers Int’l Union, AFL–CIO v. Misco, Inc., 484 U.S. 29, 37 (1987); see

also United Mine Workers of Am. Dist. No. 5 v. Consolidation Coal Co., 666 F.2d 806, 811 (3d

Cir. 1981) (“Federal courts are bound to exercise the utmost restraint to avoid intruding on the

bargained-for method of dispute resolution . . . . If the court has any doubt, the parties should be

returned to their grievance procedure.”).

       Gipson argues that Article XII does not govern for two reasons. First, it contends that the

Grievance Procedure is not a dispute resolution process for claims brought by signatory employers,

but instead a grievance resolution process for resolving grievances that union members bring

against signatory employers. In support, Gipson cites various parts of Article XII which, it claims,

provide a fuller context in which the Grievance Procedure is clearly intended only to apply to

worker grievances. For example, Gipson notes that Section 2 states that “all terms and conditions

for this Agreement shall continue in full force and effect, meanwhile, there shall be no work

stoppage” for the duration of the grievance resolution process. (Docket No. 6-1 at 19.) While this

provision does indeed seem calibrated toward worker grievances, it does not limit the broad



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applicability of Article XII, which states that “[a]ll differences as to interpretation and meaning of

the Agreement between the parties shall be settled in accordance with the following procedures.”

(Id.) Gipson, as a signatory employer, is a party to the Master Agreements. The Grievance

Procedure therefore applies to claims brought by it against the union. See Int’l Bhd. of Elec.

Workers, Local Union No. 226 v. Wichita Elec. Co., No. 04-4028-JAR, 2005 WL 466206, at *6

(D. Kan. Feb. 4, 2005) (holding that grievance procedure in collective bargaining agreement

governed breach of contract claim brought by employer against union) (“Because Wichita Electric

has failed to follow the grievance procedure set forth in the CBA, its claim that the Union

negligently selected workers in breach of the CBA must be dismissed as a matter of law.”).

       Gipson also makes a second argument: that its claims do not implicate “differences as to

interpretation and meaning of the Agreement” (id.) and are therefore not governed by the

Grievance Procedure. This argument fails as to Gipson’s claim that the defendants breached their

contractual obligations by providing unqualified workers. The Master Agreements state that, “[i]n

hiring men, the Employer shall be the sole judge of the number of men required, and shall make

the sole determination of the Employees [sic] competency for the work assigned.” (Docket No. 6-

1 at 6.)   The Master Agreements further enumerate specific qualifications for Journeymen

Plumbers and Pipe Fitters:

       Journeymen Plumbers and Pipe Fitters shall be qualified for employment who have
       had at least five (5) years actual practical working experience at the Plumbing and
       Pipe Fitting Trade as a Journeymen or who either:

               (C) Have successfully served an apprenticeship at the Trade under an
                   Apprenticeship Program approved by the United States Bureau of
                   Apprenticeship and Training, or State Division of Apprenticeship
                   Standards.

               (D) Have had previous employment as a Journeyman Plumber and Pipe
                   Fitter with a Contractor signatory to this Agreement, and whose services
                   have proved satisfactory.

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(Id.) Determination of whether the defendants owed a duty to provide qualified workers requires

interpretation of these provisions. For example, does the clause reserving to employers the “sole

determination of the Employees [sic] competency” absolve any liability on behalf of the union for

defective work performed by union workers? And do the specific listed qualifications for some

workers constitute an exhaustive list, precluding any competency-based claims against the union

so long as the qualifications listed are met? These are matters of contract interpretation and are

therefore reserved for resolution via the means set forth in the Grievance Procedure.

       However, Gipson’s claim to recover the Market Recovery Funds it is allegedly owed is

another matter. The Memorandum of Understanding contains only a cursory summary of the

agreement by which the defendants provided Market Recovery Fund Grants to Gipson:

       A “Target Rate” will be established based upon the average hourly cost of non-
       union labor. The union and the contractor mutually agree to use increased ratios,
       promotional funds and any other legal means available to provide skilled labor at
       an average rate equal to the target rate when competing against non-union
       contractors for commercial work.

Neither the Memorandum of Understanding nor the Master Agreements elucidate any terms or

conditions by which Market Recovery Funds are to be paid. The documents do not provide any

guidelines for how soon funds must be paid, whether they must be paid in any sequential order

relative to when they were granted, or whether there are any situations in which funds may not be

paid once they have been granted. Simply put, there is no contractual term in the agreements

between the parties that is subject to interpretation in resolving Gipson’s claim. The Memorandum

of Understanding states that the parties agree to engage in cost-shifting measures to win

competitive bids. Gipson pleads that it won such bids based on this agreement and that the

defendants have not followed through on their end of the bargain. The defendants do not point to

any provision of the Master Agreements or Memorandum of Understanding which could be

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interpreted as relieving the defendants of certain Market Fund Recovery grant obligations.

Gipson’s claim is therefore not subject to Article XII’s Grievance Procedure and will not be

dismissed.

       Finally, Gipson argues that the Grievance Procedure does not govern its claims against

Local 572 Building Corp. because the building corporation is not a party to the Master Agreements.

Thus, Gipson argues, only its defective work claim against the union would be subject to the

Grievance Procedure. Because arbitration is “a matter of contract,” Gipson is correct that a party

generally “cannot be required to submit to arbitration any dispute which he has not agreed so to

submit.” AT&T Techs., 475 U.S. at 648 (quoting United Steelworkers of Am. v. Warrior & Gulf

Navigation Co., 363 U.S. 574, 582–83 (1960)). However, the Sixth Circuit has held that arbitration

agreements will be enforceable by or against nonsignatories to the same extent that any other

contract would be enforceable by or against nonsignatories under state law. See, e.g., Javitch v.

First Union Secs., Inc., 315 F.3d 619, 629 (6th Cir. 2003) (“[N]onsignatories may be bound to an

arbitration agreement under ordinary contract and agency principles.” (citing Arnold v. Arnold

Corp., 920 F.2d 1269, 1281 (6th Cir. 1990))). Indeed, federal courts have recognized at least five

specific doctrines justifying the application of an arbitration clause to a nonsignatory: “‘(1)

incorporation by reference; (2) assumption; (3) agency; (4) veil-piercing/alter ego; and (5)

estoppel.’” Smith/Enron Cogeneration Ltd. P’ship v. Smith Cogeneration Int’l, Inc., 198 F.3d 88,

97 (2d Cir. 1999) (quoting Thomson–CSF, S.A. v. Am. Arbitration Ass’n, 64 F.3d 773, 776 (2d Cir.

1995)); accord Bridas S.A.P.I.C. v. Gov’t of Turkmenistan, 345 F.3d 347, 356 (5th Cir. 2003);

Javitch, 315 F.3d at 629; Int’l Paper Co. v. Schwabedissen Maschinen & Anlagen GMBH, 206

F.3d 411, 417 (4th Cir. 2000); see also Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 631 (2009)

(recognizing that “traditional principles of state law allow a contract to be enforced by or against



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nonparties to the contract through assumption, piercing the corporate veil, alter ego, incorporation

by reference, third-party beneficiary theories, waiver and estoppel” and that such principles apply

to arbitration agreements). As explained above, Gipson has sufficiently pled that the defendants

are alter egos of each other. If that is the case, the Grievance Procedure is equally enforceable by

Local 572 Building Corp., despite its not being a signatory to the Master Agreements. Gipson’s

claim for breach of contract stemming from defective employee work will therefore be dismissed

for failure to exhaust the Master Agreements’ Grievance Procedures. 5

                                         CONCLUSION

        For the foregoing reasons, the defendants’ Motion to Dismiss (Docket No. 12) will be

granted in part. Gipson’s claim for breach of contract stemming from defective employee work is

subject to a contractual dispute resolution procedure will therefore be dismissed. Gipson’s claim

for breach of contract stemming from unpaid Market Recovery Fund sums will not be dismissed

at this stage.

        A separate order will issue.

        ENTER this 24th day of January 2019.

                                                             ______________________________
                                                             ALETA A. TRAUGER
                                                             United States District Judge




5
  Gipson makes an additional argument that the Grievance Procedure will deprive it of its due
process rights because the procedure refers disputes to the Joint Arbitration Committee, which
consists of three union representatives and three Historical Bargaining Group representatives. The
Historical Bargaining Group consists of Gipson’s competitors, and Gipson argues that it could not
get a fair shake from these representatives because its claim is for Market Recovery Fund sums
that it alleges was improperly paid to those competitors, despite Gipson’s grants having been made
first. The court need not address this argument because Gipson’s claim for Market Recovery Fund
sums is not subject to the Grievance Procedure. Gipson sets forth no due process argument with
regard to its claim for defective work.
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